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CENTER FOR DISABILITY ACCESS
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
Brian Whitaker, Case No.: 4:21-cv-01815-JST
Plaintiff,
y NOTICE OF SETTLEMENT
Fresh Society, Inc.,

Defendants,

The plaintiff hereby notifies the court that a global settlement has been reached in
the above-captioned case and the parties would like to avoid any additional expense, and
to further the interests of judicial economy.

The plaintiff, therefore, applies to this Honorable Court to vacate all currently set
dates with the expectation that the Joint Stipulation for Dismissal with prejudice as to all

parties will be filed within sixty days.

Dated: December 16, 2022 CENTER FOR DISABILITY ACCESS

/s/ Claire Cylkowski
Claire Cylkowski
Attorney for Plaintiff

Notice of Settlement -1- 4:21-cv-01815-JST

